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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA

    IN RE: fc) \   p:_. \:'J-~j ~'A"'0 +.                     CASE NO: 1l\- \~_§\ \   i -- '(2AfY\
           l\:)\..\fc)J._.s \j l11 \ \ {Adv1Ks   )




                    Debtor(s)


                          TRUSTEE'S OBJECTION TO EXEMPTIONS
                    AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

        Nancy K Neidich, Standing Chapter 13 Trustee, files this Objection to Exemptions as the
Trustee objects to the exemption of property as stated in the debtor(s)' Schedules as being over the
legal limit and/or raising a question as to the amount of the claimed exemption and therefore it docs
not appear that the debtors are entitled to same and therefore excessive or inappropriate exemptions
should be stricken and disallowed. Objecting specifically as checked:

 ____ a) Homestead property which o is multi-family (duplex), [J not actually used as homestead, or
!]acquired fewer than 1215-days pre-petition and exempt in excess of $189,050.00.
 ___ b) Personal property exempted over o $1000 with or o $5000 without Homestead.
          c) Tenants By the Entireties, evidence ofjoint title and motion served on all creditors with a
statement of which property is jointly held and requiring objection from any joint creditor
_________ d) Bare Legal Title, evidence that the debtor has never contributed to the payment,
maintenance, or use. OR NOT A GIFT (or that there is no equity in the property for the estate)
__ e) Vague exemption in the amount stated, description of asset, or citation of exemption.
___ J) Wages, evidence of head of family (if joint case need specific debtor claiming exemption) and
6 months bank statements with deposits traced.
__ g) Automobile oexcmption in excess of $1000.00, o is split between more than one automobile,
or o is exempted by debtor who is not on registration/title.
X_ h) Valuation Issues: the debtor did not timely provide the Trustee with requested valuation,
          1 ing but not limited to bank statements, real property, or vehicles, See deficiency for detail.
             Proof of IRS, Pension or 401K statement
      _J) Use of improper application of exemption: residency 522(b )(3 ), not eligible for exemption
          k)                                                                                               '\     ,
-                                                                                                               ~~-
        I hereby certify that a true and correct copy of the foregoing and the Notice ofl-Iearing                \:,.W),\\~\
                                                                                                                \)~v,~
generated by the Clerk of the Court was served through ECF on debtor's attorney on the same day
as the objection is filed with the Clerk of the Court.
                                                       Submitted by
                                                       NANCY K. NEIDICH, ESQUIRE
                                                       STANDING CHAPTER 13 TRUSTEE
                                                       FLORIDA BAR NO.: 441856
                                                       P.O. BOX 279806
                                                       MIRAMAR, FL 33027
                                                       (954) 443-4402
